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          Exhibit 4
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Health Data on Active Duty Service Members
          with Gender Dysphoria

      Comparison health care data with
       statistical analysis, deployment,
   treatment plan, surgical recovery times,
        separation data and cost data

                             December 13 2017




                                                                         ADMINISTRATIVE_RECORD_003011
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  Gender Dysphoria (GD) Medical Utilization Comparisons
                     Methodology

• Reviewed select medical utilization (i.e., mental health
  visits/admissions, hormones, surgical and other procedures)
  for the Study Group of 994 TG service members with GD
   – Limited the group studied to those in an Active Duty or Activated
     Guard status for the entire period of time from FY16 to current (July
     2017)
• Final GD Study Group = 691
   – Study Period: Oct 2015 to July 2017 (22 months)




                                                                                                       2
                                                                            ADMINISTRATIVE_RECORD_003012
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                    Medical Utilization Comparisons
                             Methodology
Created two control groups:
• “MH+ Control Group” - Matched 5:1 with non-TG service members by:
    – Major Depressive Disorder (Yes/No)
    – Anxiety (Yes/No)
    – Adjustment Disorder (Yes/No)
    – Matching included gender, age group (<25, 25-40, 40+), rank group, Service
    – MH+ Control Cohort = 3,455
• “AG Control Group” - Matched 5:1 with non-TG service members by:
    – Matching included age group (<25, 25-40, 40+) and gender
    – AG Control Cohort = 3,455
• Study Period Oct 2015 – July 2017




                                                                                                              3
                                                                               ADMINISTRATIVE_RECORD_003013
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Study Group Descriptive Data
                                             STUDY GROUP      STUDY GROUP
                                                Count          Percentage

Study Group Size               N                 691             100%

                              <25                281             41%

  Age Group                  25-40               388             56%

                              40>                22               3%

                            Female               349             51%
    Gender
                             Male                342             49%

                             Army                226             33%

                           Air Force             188             27%

Sponsor Service             Marines              38               5%

                             Navy                216             31%

                             Other               23               3%

                           Jr Enlisted           354             51%

  Rank Group               Sn Enlisted           293             42%

                             Officer             44               6%                         4
                                                                            ADMINISTRATIVE_RECORD_003014
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               Descriptive Data (continued)
                                                       STUDY COHORT   STUDY COHORT
                                                           Count        Percentage


                          Study Group Size     N           691            100%

                                               No          529             77%
                          Major Depressive
                             Disorder
                                               Yes         162             23%

                                               No          488             71%
                         Adjustment Disorder
                                               Yes         203             29%

                                               No          543             79%
                          Anxiety Disorder
                                               Yes         148             21%



• The Age-Gender matched ‘AG Control Group’ - Major Depressive Disorder,
  Anxiety, and Adjustment were not very prevalent




                                                                                                           5
                                                                                 ADMINISTRATIVE_RECORD_003015
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                  Regression Analysis
• Multiple regression models were run for both control groups to
  assess if there is significant difference between the study and
  control groups regarding psychotherapy and any mental health
  utilization.
• Dependent Variables of Interest
   – Psychotherapy visits
   – Any mental health visits
• Regressions controlled for combinations of the following
  independent variables:
   – Age Group
   – Gender
   – Rank (officer vs. enlisted)
   – Service
   – Presence of MH Conditions
       • Major Depressive Disorder, Anxiety or Adjustment

                                                                                                        6
                                                                             ADMINISTRATIVE_RECORD_003016
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Summary of Results: Psychotherapy Encounters
                                                           MH+ CONTROL
                       STUDY GROUP                                                             AG CONTROL GROUP
                                                              GROUP
                          (n=691)                                                                   (n=3455)
                                                             (n=3455)
                             Outpatient                           Outpatient                              Outpatient
                        (Oct 2015-July 2017)                 (Oct 2015-July 2017)                    (Oct 2015-July 2017)
                       Avg.
                    Encounters                         Avg. Encounters
                                        Total                                  Total         Avg. Encounters
                    per service                          per service                                              Total Encounters
                                     Encounters                             Encounters     per service member
                     member                               member


Psychotherapy          20.4            14,088                7.9              27,237              1.99                 6,864




• After controlling for age, sex, rank, service, and presence of any of the three
  mental health disorders (MDD, Anxiety, Adjustment), there is a statistically
  significant effect in psychotherapy utilization between study group and both
  control groups.
    • Individuals in the Study Group (GD) on average generate 13 more
       psychotherapy encounters over a 22 month period.
    • The Study Group had 2.5 x the number of psychotherapy visits than the MH
       control group and 10 x the number of visits than the age and gender
       matched control group
                                                                                                                                     7
                                                                                                         ADMINISTRATIVE_RECORD_003017
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Summary of Results: Any Mental Health Encounters
                           STUDY GROUP                     MH+ CONTROL GROUP                         AG CONTROL GROUP
                              (n=691)                           (n=3455)                                  (n=3455)
                                 Outpatient                            Outpatient                              Outpatient
                            (Oct 2015-July 2017)                  (Oct 2015-July 2017)                    (Oct 2015-July 2017)
                      Avg. Encounters                       Avg. Encounters
                                             Total                                  Total         Avg. Encounters
                        per service                           per service                                              Total Encounters
                                          Encounters                             Encounters     per service member
                         member                                member

Any Mental Health          28.1             19,379               10.7              36,818              2.69                 9,297



• After controlling for age, sex, rank, service, and presence of any of the three
  mental health disorders (MDD, Anxiety, Adjustment), there is a statistically
  significant effect in mental health utilization between study group and both
  control groups.
    • Individuals in the Study Group (GD) on average generate 18 more mental
       encounters over a 22 month period.
    • The Study Group had 9 x the number of MH visits than the age and gender
       matched group
    • The Study Group had over 2.5 x as many MH visits as the MH control group



                                                                                                                                          8
                                                                                                              ADMINISTRATIVE_RECORD_003018
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              Summary of Results: Suicidal Ideation
                    STUDY GROUP                    MH+ CONTROL GROUP                     AG CONTROL GROUP
                       (n=691)                          (n=3455)                              (n=3455)
                  (Inpatient and Outpatient)         (Inpatient and Outpatient)            (Inpatient and Outpatient)
                     (Oct 2015-July 2017)               (Oct 2015-July 2017)                  (Oct 2015-July 2017)
                 Individuals                         Individuals                        Individuals
                  Receiving        Percentage         Receiving        Percentage        Receiving            Percentage
                 Treatment                           Treatment                          Treatment
  Suicidal
                     81               12%               235                7%               52                   1.5%
  Ideation



• Also ran multiple logistic regressions to calculate the odds
  ratio of suicidal ideation while controlling for age and
  gender.
   – Only 12% of our Study Group reported suicidal ideation
     compared to the 25% reported in one civilian sector study.
   – The Study Group had an 8 x higher rate of suicide ideation than
     age and gender matched AD SMs over a 22 month period.
             • Result is statistically significant
             • Note: The AG Control Group did not have sufficient suicidal ideation
               prevalence for analysis.                                             9
                                                                                                      ADMINISTRATIVE_RECORD_003019
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DEPLOYMENT DATA



                                                                                  10




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           Study Group Deployment History

       • Service members with a primary diagnosis of
994      gender dysphoria – FY2016 to July 2017

       • Deployed in support of OEF/OIF/OND
393      (OCONUS)

       • Deployed following a primary diagnosis of
114      gender dysphoria

       • Deployed following a primary diagnosis of
69       gender dysphoria AND after July 1, 2016
                                                                                                    11
                                                                           ADMINISTRATIVE_RECORD_003021
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                Cohort Deployment History

      • Deployed following a primary diagnosis of gender dysphoria
114

      • Were medically evacuated from CENTCON following a primary diagnosis
        of gender dysphoria
6     • 4 had a mental health diagnosis identified as the reason for evacuation


      • Deployed following a primary diagnosis of gender dysphoria AND after
        July 1, 2016
69

      • Were medically evacuated from CENTCOM following a primary diagnosis
        of gender dysphoria AND after July 1, 2016
3     • 1 had a mental health diagnosis identified as the reason for evacuation

                                                                                                  12
                                                                           ADMINISTRATIVE_RECORD_003022
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TREATMENT PLAN DATA




                                                                                      13




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              Service Data Request
• Data collection will cover the time period from September
  1, 2016, to August 31, 2017
• Data request included:
   – Number of SMs with approved treatment plans
   – Number of SMs receiving psychotherapy and cross-sex
     hormones as part of the treatment plan
   – Number of SMs with sex reassignment surgery as part of the
     treatment plan
   – Total number of profiles/LIMDUs and days on restricted duty for
     each transitioning SM
   – Total number of days on profile/LIMDU/restricted duty
• Army, Navy and Air Force coordinated definitions and
  methodologies of collection for data elements

                                                                                                     14
                                                                            ADMINISTRATIVE_RECORD_003024
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       Service Data – Approved Treatment Plans*
        Department of the                 Department of the                       Department of the Air
              Army                              Navy                                     Force
               N=90                              N=248                                        N=86
100                                                                        100



50                                                                  77% 50
        96%      96%     72%             73%      95%        77%                  84%           85%            67%
 0                                                                          0

                               Psychotherapy    Hormones          Surgery



                                                                 ARMY                NAVY            AIR FORCE
      Number of Service Members with surgeries as
                                                                   65                 190                 58
      part of treatment plan^
      Percent of Treatment Plans with surgery
                                                                  72%                77%                 67%
      included58236   72



  *Services only 73
                 had access to treatment plans submitted to their TG care teams (TGCT/MMDT)
  ^A Civilian study shows that 23% of MtF and 2% FtM TG individuals initially wanting surgery actually
  have surgery.
                                                                                                               15
                                                                                        ADMINISTRATIVE_RECORD_003025
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           SERVICE DATA – Types of Surgeries Included in
                        Treatment Plans
                                                   ARMY              NAVY           AIR FORCE
               Hysterectomy/Oophorectomy
                                                     **                97                   14

               Orchiectomy
                                                     **                61                   12

               Mastectomy/Augmentation
                                                     **               113                   38

               Genital Reassignment
                                                     **               118                   19

               Other
                                                      -                 -                   27


* An individual service member may have more than one surgical procedure in their treatment plan
** Army responded this level of detail is not consistently provided or individualized in proposed medical
treatment plans on file.
                                                                                                              16
                                                                                       ADMINISTRATIVE_RECORD_003026
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SERVICE DATA – Profiles/LIMDUs/Restricted Duty
                                              ARMY*                     NAVY**              AIR FORCE***
 Number of Service Members with
 a diagnosis of Gender Dysphoria              87 (90)                  22 (248)                   52 (86)
 on Profile/LIMDU/Restricted Duty


 Average Number of
 Profiles/LIMDUs/Restricted Duty                 3.4                          0.1                    1.9
 per transitioning SM


 Average number of days a                                            1-90           3

 transitioning Service Member is in                                 90-180          12
 a Profile/LIMDU/Restricted Duty               167.4                180-270         3                159
 status                                                             270-360         2

                                                                     >360           2




 Range of Days on Profile                     0 - 537                   1 - 360+                    1 - 365
* Army – profiles for SMs with GD; indication for profile not known; could be for transition or for other indications.
** Navy - policy dictates no LIMDU for gender transition. All LIMDUs are for non-transition indications. SMs undergoing
transition are non-deployable for the first 3 to 6 months of hormone therapy but not put on LIMDU. Navy provided Avg.
Number of days on LIMDU in block times.
*** Air Force - profiles are for transition.

                                                                                                                          17
                                                                                                ADMINISTRATIVE_RECORD_003027
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SURGICAL RECOVERY TIME DATA



                                                                                               18




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                Estimated Recovery Times, by Surgery*
                                                  Average Recovery Time
   Selected Surgical Procedure                                                                                Notes
                                                (assumes no complications)
                                                                                            (data for all indications)
 Hysterectomy*/** (laparoscopic                           4 weeks desk job
                                                                                            Major complication = 9.5%
 approach, recommended)                             6-8 weeks unrestricted activity
                                                                                            Minor complication = 28%
                                                                                            (data for all indications)
 Hysterectomy* (abdominal approach)
                                                              6-8 weeks                     Major complication = 6%
 with or w/o Oophorectomy
                                                                                            Minor complication = 27%
                                                        2-4 weeks (desk job)
 Chest masculinization* (Mastectomy)                                                        Low complications
                                                 4-6 weeks (physically demanding job)
                                                         3-4 weeks desk job
 Orchiectomy*                                                                               Very low complications
                                                     6 weeks unrestricted activity
                                                                                            • Recommend stay in area of hospital
                                                 6 weeks desk jobs (some restrictions)        where procedure performed for up to 2
 Vaginoplasty**                                   6-8 weeks resume physical activity          weeks
                                                   3 months for unrestricted activity       • Major complications 1.5%-10%
                                                                                            • Minor complications ~25%,self limiting
                                                          6 weeks desk job                  • Recommends stay in area of hospital
 Phalloplasty** (2 stages, 2nd surg 9-12
                                                     8-12 weeks return to activity            where procedure performed for up to 3
 mos later)
                                                        3 months unrestricted                 weeks/complications 10-80%
                                                                                            • Recommends stay in area of hospital
                                                          3 weeks desk job
 Metoidioplasty** (2 stages, 2nd stage                                                        where procedure performed for up to 3
                                                      6 weeks return to activity
 performed >/=3 mos later)                                                                    weeks
                                                        8 weeks unrestricted
                                                                                            • <5% complication rate

*From Mayo Clinic, UCSF Center of Excellence for Transgender Health websites and **Dr. Loren Schechter
                                                                                                                               19
                                                                                                         ADMINISTRATIVE_RECORD_003029
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Estimated Recovery Time for Vaginoplasty from Two
            SHCP Waiver Requests*,**


PROCEDURE            CENTER                                      RECOVERY TIMES

                                                       Post-op                                        Non-
                                     Inpatient                        Con leave      Light duty
                                                       Bedrest                                      deployable

                     Papillon
                      Center
Vaginoplasty                           6 days          3 days          6 weeks      2-3 months       6 months
                    New Hope,
                        PA



                      Papillon
Vaginoplasty                           6 days          3 days          6 weeks      2-3 months       6 months
                       Center


 *Times are not cumulative; total non-deployable = 6 months
 **Information from the Defense Health Agency
                                                                                                                20
                                                                                          ADMINISTRATIVE_RECORD_003030
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             Surgeries in Study Group, FY2016 to Present
               Includes Direct Care and Purchased Care

                                   Resection of Uterus/                       Excision Procedures on the
            SERVICE                   Hysterectomy
                                                              Mastectomy
                                                                                        Testes
                                                                                                             Totals




Air Force    Active Duty                    3                                                                  3
Army         Active Duty                    6                      5                       2                  13
             Guard/Reserve                                         1                                           1


Marine Corps Active Duty                    1                      6                                           7
Navy         Active Duty                    4                      3                       2                   9
             Guard/Reserve                  1                                                                  1

Totals                                     15                     15                       4                  34

               33 procedures were performed in MTFs, 1 in Purchased Care.
               Of the 34 procedures performed, 25 were for an indication of GD
                                                                                                                       21
                                                                                        ADMINISTRATIVE_RECORD_003031
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Time to Return to Full Duty After Transition Surgery in
                        MTFs

• The Services and NCR were requested to provide actual
  recovery times (times to return to full duty) for gender
  transition surgeries performed in the MTFs
• Surgeries performed included mastectomies,
  hysterectomies, orchiectomies and facial feminization
• Recovery times were available for 36 procedures
  performed in 13 different MTFs
   – 6 Army
   – 4 Navy
   – 1 Air Force
   – 2 NCR


                                                                                                    22
                                                                             ADMINISTRATIVE_RECORD_003032
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                            MASTECTOMY
                           CPT Code 19303-19304
       Primary Procedure Code          # Days to Full Duty                Comments
Army            19303                           30
Army            19303                           14
Army            19304                           75
Army            19394                           42
Army            19304                           28
Army            19304                           27
Navy            19303                           42                 Average # Days =
Navy            19303                           42                       39
Navy            19303                           42                  Range 14 - 75
Navy            19303                           42
Navy            19304                           42
Navy            19303                           42
Navy            19303                           42
Navy            19303                           42
Navy            19304                           42
NCR             19304                           30                                            23
                                                                            ADMINISTRATIVE_RECORD_003033
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                             HYSTERECTOMY
                                  CPT Code OUT9FZZ
        Primary Procedure Code          # Days to Full Duty                  Comments
Army            OUT9FZZ                           68
Army            OUT9FZZ                           42
Army            OUT9FZZ                           42
Army            OUT9FZZ                           87
Army            OUT9FZZ                           96
Navy            OUT9FZZ                           56
                                                                      Average # Days =
Navy            OUT9FZZ                           56                        67
Navy            OUT9FZZ                           56                   Range 30 – 237
Navy            OUT9FZZ                           56
Navy            OUT9FZZ                           60                  (Avg # days w/o
Navy            OUT9FZZ                           45                      AF = 55)
Navy            OUT9FZZ                           45
Air             OUT9FZZ
                                                  237
Force
NCR             OUT9FZZ                           31
NCR              58262                            30                                             24
                                                                               ADMINISTRATIVE_RECORD_003034
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                                   ORCHIECTOMY
                                     CPT Code 54520

       Primary Procedure Code              # Days to Full Duty                      Comments
Army                54520                           45
                                                                             Average # days = 38.3
Navy                54520                           35
                                                                                 Range 35-45
Navy                54520                           35




                             OTHER PROCEDURES

       Procedure (s)                      # Days to Full Duty                    Comments
Army   Facial Feminization                          42                 1 case

                                                                       Procedures performed two
Army   Hysterectomy & Mastectomy                    89
                                                                       months apart


                                                                                                         25
                                                                                ADMINISTRATIVE_RECORD_003035
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 SEPARATION DATA



                                                                                 26




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                                       Separation Data


                      Cohort members                                                993*


  Cohort members that are continuously AD
                                                                                     691
           10/1/2015-7/1/2017


  Cohort members who may have separated                                              302


Cohort members who may have separated in
                                                                                     194
            separation file


                          Unknown                                                    108


*1 of the original 994 was not found in DEERS                                                                  27
                                                                                        ADMINISTRATIVE_RECORD_003037
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                                                 Reason for Separation
                                                     High to Low Comparison
                                                                          Percentages of all Separations for the
                        Study Cohort                                      Same reasons from 10/1/2015 - 7/1/2017
                                                                          (not matched, taken from entire set of 408,409 SMs separated)

                                                 Frequency   Percent                                                       Frequency      Percent
Expiration of term of service                        74       38.14      Expiration of term of service                        197,959      48.47
Temporary disability retirement                      19       9.79       Retirement, 20 to 30 years of service                 39,925      9.78
Permanent disability retirement                      12       6.19       Unqualified for active duty, other                    18,979      4.65
Unqualified for active duty, other                   9        4.64       Disability, severance pay                             11,480      2.81
Disability, severance pay                            8        4.12       Permanent disability retirement                       10,801      2.64
Retirement, 20 to 30 years of service                8        4.12       Temporary disability retirement                       10,408      2.55
Drugs                                                8        4.12       Officer commissioning program                          9,691      2.37
Early release, in the national interest              7        3.61       Entry level performance and conduct (former
Character or behavior disorder                       7        3.61                                                              9,176      2.25
                                                                         Trainee Discharge program)
Officer commissioning program                        6        3.09       Unsatisfactory performance (former
Failure to meet weight or body fat standards         5        2.58                                                              9,061      2.22
                                                                         Expeditious Discharge program)
Military service academy                             4        2.06       Drugs                                                  8,836      2.16
Pattern of minor disciplinary infractions            3        1.55       Early release, in the national interest                8,603      2.11
Commission of a serious offense                      3        1.55       Commission of a serious offense                        6,979      1.71
Failure to meet minimum qualifications for                               Failure to meet weight or body fat standards           6,064      1.48
                                                    3         1.55
retention                                                                                                                       5,147      1.26
                                                                         Other
Other                                               3         1.55
                                                                         Erroneous enlistment or induction                      4,105      1.01
Alcoholism                                          2         1.03
                                                                         Discreditable incidents, civilian or military          3,538      0.87
Court-martial                                       2         1.03
                                                                         Juvenile offender                                      2,618      0.64
Juvenile offender                                   2         1.03
                                                                         Character or behavior disorder                         2,480      0.61
Erroneous enlistment or induction                   2         1.03
Condition existing prior to service                 1         0.52       Failure to meet minimum qualifications for             2,386      0.58
                                                    1         0.52       retention
Discreditable incidents, civilian or military
                                                    1         0.52       Pattern of minor disciplinary infractions              1,508      0.37
Unfitness, reason unknown
                                                                         Court-martial                                          1,216      0.3
Unsatisfactory performance (former Expeditious
                                                    1         0.52       Military service academy                               1,213      0.3
Discharge program)
Entry level performance and conduct (former                              Alcoholism                                             1,081      0.26
                                                    1         0.52       Unfitness, reason unknown                                692      0.17
Trainee Discharge program)
Secretarial authority                               1         0.52       Secretarial authority                                    624      0.15
Breach of contract                                  1         0.52       Condition existing prior to service                      475      0.12     28
Total                                              194                   Breach of contract                                       135      0.03
                                                                                                                         ADMINISTRATIVE_RECORD_003038
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                                                       Reason for Separation
                                                           Alphabetical Comparison
                                                                                            Percentages of All Separations for the Same
                          Study Cohort                                                      Reasons from 10/1/2015 - 7/1/2017 not matched,                 (
                                                                                            taken from entire set of 408,409 SMs separated)

                                                       Frequency         Percent                                                                  Frequency     Percent
Alcoholism                                                          2               1.03   Alcoholism                                                   1,081              0.26
Breach of contract                                                  1               0.52   AWOL or desertion                                              284              0.07
Character or behavior disorder                                      7               3.61   Breach of contract                                             135              0.03
Commission of a serious offense                                     3               1.55   Character or behavior disorder                               2,480              0.61
Condition existing prior to service                                 1               0.52   Civil court conviction                                         267              0.07
Court-martial                                                       2               1.03   Commission of a serious offense                              6,979              1.71
Disability, severance pay                                           8               4.12   Condition existing prior to service                            475              0.12
Discreditable incidents, civilian or military                       1               0.52   Court-martial                                                1,216               0.3
Drugs                                                               8               4.12   Disability, severance pay                                  11,480               2.81
Early release, in the national interest                             7               3.61   Discreditable incidents, civilian or military                3,538              0.87
                                                                                           Drugs                                                        8,836              2.16
Entry level performance and conduct (former Trainee
                                                                                           Early release, in the national interest                      8,603              2.11
Discharge program)                                                  1               0.52
Erroneous enlistment or induction                                   2               1.03   Entry level performance and conduct (former Trainee
                                                                                           Discharge program)                                          9,176               2.25
Expiration of term of service                                      74              38.14
                                                                                           Erroneous enlistment or induction                           4,105               1.01
Failure to meet minimum qualifications for retention                3               1.55
                                                                                           Expiration of term of service                             197,959              48.47
Failure to meet weight or body fat standards                        5               2.58
                                                                                           Failure to meet minimum qualifications for retention        2,386               0.58
Juvenile offender                                                   2               1.03
                                                                                           Failure to meet weight or body fat standards                6,064               1.48
Military service academy                                            4               2.06   Juvenile offender                                           2,618               0.64
Officer commissioning program                                       6               3.09   Military service academy                                    1,213                0.3
Other                                                               3               1.55   Officer commissioning program                               9,691               2.37
Pattern of minor disciplinary infractions                           3               1.55   Other                                                       5,147               1.26
Permanent disability retirement                                    12               6.19   Pattern of minor disciplinary infractions                   1,508               0.37
Retirement, 20 to 30 years of service                               8               4.12   Permanent disability retirement                            10,801               2.64
Secretarial authority                                               1               0.52   Retirement, 20 to 30 years of service                      39,925               9.78
Temporary disability retirement                                    19               9.79   Secretarial authority                                         624               0.15
Unfitness, reason unknown                                           1               0.52   Temporary disability retirement                            10,408               2.55
Unqualified for active duty, other                                  9               4.64   Unfitness, reason unknown                                     692               0.17
Unsatisfactory performance (former Expeditious                                             Unqualified for active duty, other                         18,979               4.65
Discharge program)                                                   1              0.52   Unsatisfactory performance (former Expeditious                                 29
Total                                                              194                     Discharge program)                                          9,061               2.22
                                                                                                                                           ADMINISTRATIVE_RECORD_003039
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      COST DATA



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Cost of Services for Gender Dysphoria
   (Purchased Care Paid Costs; Direct Care Estimated Costs)



                          FY14          FY15          FY16           FY17          TOTAL

   Direct Care        $ 82,558      $ 83,563      $ 650,492 $ 2,172,849 $ 2,989,462


  Purchased Care      $   5,421     $   3,884     $     10,094 $       16,509 $       35,908


    Pharmacy          $   1,264     $   2,693     $      3,406 $        6,130 $       13,493


      TOTAL           $ 89,243      $ 90,140      $ 663,992 $ 2,195,488 $ 3,038,863




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                                                   Average Health Care Expenditures:
                                            Transgender Active Duty (TRICARE Prime) vs Average Active Duty

                                          2,500                                                Avg Cost Comparison

                                                                   Defense Secretary                        Defense
                                                                   Hagel said that the                      Secretary                          transgender
                                          2,000
                                                                                                                                               Policy Change
                                                                                                                                               Americans may
                                                                   Defense Secretary                          Secretary Carter
                                                                   military    should                       Carter  Policy
  Average Health Care Cost per Eligible




                                                                   Chuck Hagel said that                      Policy Change,
                                                                   “continually”
                                                                   the military shouldreview                Change,
                                                                                                              separation only
                                                                   its  prohibition
                                                                   “continually”       on
                                                                                  review                    separation
                                                                                                              with USD(P&R)
                                          1,500                    its prohibition on
                                                                   transgender people                       only with USD
                                                                                                              approval
                                                                   transgender people in
                                                                   in  the armed forces.
                                                                   the armed forces.
                                                                                                            (P&R)
                                                                                                            approval.
                                                                                                                                                                Cost is 3X
                                          1,000
                                                                                                                                                                Higher than
                                                                                                                                                                ADSM w/o
                                                                                                                                                                GD
                                           500




                                             -
                                                  1 2 3 4 5 6 7 8 9 10 11 12 1 2 3 4 5 6 7 8 9 10 11 12 1 2 3 4 5 6 7 8 9 10 11 12 1 2 3 4 5 6 7 8 9
                                                            2014                               2015                               2016                       2017
                                                                                                 Fiiscal Year/Fiscal Month
                                                                                  Average AD          TG population normalized to AD Average

Source: M2 (Purchased Care: Inpatient (TED-I); Professional (TED-NI)); (Direct Care: Inpatient (SIDR);
Professional (CAPER)); Pharmacy (PDTS); Population (DEERS)
                                                                                                                                                                              32
                                                                                                                                                ADMINISTRATIVE_RECORD_003042
